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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

BRADLEY ERHART,

              Plaintiff,

       v.                                CAUSE NO. 1:21-cv-01829-TAB-TWP


NANCY ERHART,

              Defendant.


                      ORDER ON MOTION FOR EXTENSION
                    OF DEADLINE TO AMEND THE PLEADINGS

       Plaintiff, having filed his Motion for Extension of Deadline to Amend the

Pleadings and Join Additional Parties, and the Court, being duly advised, GRANTS the

motion. The Parties shall have until February 25, 2022 to move to amend the pleadings or

join additional parties.


       SO ORDERED.
                                         _______________________________
                                          Tim A. Baker
       Date: 1/10/2022                    United States Magistrate Judge
                                          Southern District of Indiana




Distribution to all counsel of record via ECF.
